®\ Case 2`_;03-cr-2 425-.]P|\/| Document 97 Filed 07/05/05 Page 1 of 3 Page|D 131

- '_ _m D_Q, men ev nn
mm m IN THE UNITED sTATEs DISTRICT CoURT

05 JUL _5 PH §O¥§FHE WESTERN DISTR_ICT OF TENNESSEE 05 JUN 30 FH 3: 29

  
 
 

  
   

WESTERN DIVISION
newsM.GOtm mut-zia :-.t cum
u.s._z;amg:molm * ctth u.s."'n:smictoomi
UNITED 8 MESS~BFMMERICA, W.=D CF T!\i, MEMPHIS
*
Plaintiff, Cr. No. 03-20425-M1
VS. * co
Q oil »~
GEORGE ARMSTRONG’ gmc-1315 GRANTED mg PHtPPs accrual
§§ sign 15 S, DISTRICT JUDGE
Defendant. ME“ m [ ,. .r / \ ’§
_ ~ 5 ii a ' ' 250
Ju\ D¢ lbo "-'*-"‘T`“ du

 

-.»..v-

MOTION TO CONTINUE SENTENCING HEARING

 

COMES NOW the United States of America, by and through Terrell L. Harris, United
States Attorney, and Lorraine Craig, Assistant United States Attorney for the Western Distn`ct of
Tennessee, and moves this Honorable Court to continue this case currently set for sentencing on
July 8, 2005. The Assistant United States Attorney previously handling this case has recently
left the office and the Government is requesting a continuance to allow new counsel adequate
time to prepare.

Defendant’s counsel Marty McAfee has no objection to this continuance

Respectfully submitted,

TERRELL L. HARRIS

 

Assistant United States Attorne
167 N. Main, Room 800
Memphis, Tennessee 38103

Th'ls document entered on the docket great in compliance
with Rule 55 and,'or 32(b) FHCrP on b

Case 2:03-cr-20425-.]PI\/| Document 97 Filed 07/05/05 Page 2 of 3 Page|D 132

CERTIFICATE OF SERVICE
I, Lorraine Craig, Assistant United States Attorney for the Western Distn`ct of Tennessee,
hereby certify that a copy of the foregoing Motion of the United States has been mailcd, first
class postage pre-paid, to Marty McAfee,246 Adams, Memphis, Tennessee 38103.

This 50 day of June, 2005 .

    
 

LORRAINE CRAIG
Assistant United States Attorney

    
 

UN1TED sEsTAT D1STR1CT COURT - WETERS DISTR1CT TENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 97 in
case 2:03-CR-20425 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
l\/lemphis7 TN 38103

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

